
USCA1 Opinion

	










          August 3, 1995        [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                 ____________________




          No. 94-2031

                                    UNITED STATES,

                                      Appellee,

                                          v.

                              JUAN MOISES PEREZ-MENDEZ,

                                Defendant, Appellant.


                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND


                       [Hon. Mary M. Lisi, U.S. District Judge]
                                           ___________________


                                 ____________________

                                        Before

                                Selya, Cyr and Boudin,
                                    Circuit Judge.
                                    _____________

                                 ____________________

               Randy Olen and John M. Cicilline on brief for appellant.
               __________     _________________
               Sheldon  Whitehouse,  United  States Attorney,  Margaret  E.
               ___________________                             ____________
          Curran and Michael E.  Davitt, Assistant United States Attorneys,
          ______     __________________
          on brief for appellee.

                                 ____________________

                                 ____________________



















                      Per Curiam.  Defendant-appellant Juan Moises Perez-
                      __________

            Mendez ("Perez")  was indicted in the  United States District

            Court for the  District of Rhode Island  for unlawful reentry

            into the United States following deportation, in violation of

            8  U.S.C.    1326.   Perez moved  to dismiss  the indictment,

            collaterally attacking the validity  of the deportation order

            upon which the indictment was based.  After a hearing on  the

            motion  to dismiss,  the  district court  denied the  motion.

            Perez  entered  an  unconditional  guilty  plea,  failing  to

            reserve  the right to appeal from the denial of his motion to

            dismiss the indictment.   He  was sentenced to  46 months  in

            prison.  He appeals from the denial of his  motion to dismiss

            the indictment and from the sentence.  We affirm.

                 A. Motion to Dismiss Indictment
                    ____________________________

                 Perez seeks  to appeal from the  district court's denial

            of his motion to dismiss the indictment.  He failed, however,

            to preserve that issue for  appellate review when he  entered

            his  unconditional guilty plea.  Rule 11 of the Federal Rules

            of  Criminal   Procedure  sets  forth  the  requirements  for

            reserving such issues for appeal:

                 With the approval  of the court and  the consent of
                 the government, a defendant may enter a conditional
                 plea  of  guilty or  nolo contendere,  reserving in
                 writing the right, on  appeal from the judgment, to
                 review   of  the   adverse  determination   of  any
                 specified pretrial motion.

            Fed.  R. Crim.  P. 11(a)(2).   Having  failed to  comply with

            those requirements, Perez is precluded  from obtaining review


                                         -2-















            of the district court's  denial of his motion to  dismiss the

            indictment.

                 This court has held  "with monotonous regularity that an

            unconditional guilty plea effectuates a waiver of any and all

            independent  non-jurisdictional lapses  that may  have marred

            the  case's progress up to that  point, thereby absolving any

            errors in  the trial  court's antecedent rulings  (other than

            errors  that  implicate  the  court's  jurisdiction)." United
                                                                   ______

            States v. Cordero, 42 F.3d  697, 699 (1st Cir. 1994).   There
            ______    _______

            is  an exception  to  this rule  for  errors that  call  into

            question the  district court's  jurisdiction  over the  case.

            See Blackledge v.  Perry, 417 U.S. 21,  30-31 (1974) (holding
            ___ __________     _____

            that  guilty plea  did not  foreclose habeas  petitioner from

            attacking his  conviction in  Superior Court where  "the very

            initiation  of the  proceedings against  him in  the Superior

            Court . . . operated to deny him due process of law."); Menna
                                                                    _____

            v. New York, 423  U.S. 61, 62-63 (1975) (holding  that guilty
               ________

            plea  does not waive double jeopardy claim that the state was

            precluded  from hailing him into court on the charge to which

            he had pleaded guilty).

                 In this case, Perez does not argue that merely by haling

            him into court  on the illegal  reentry charge, the  district

            court violated his due process  rights.  Instead, he contends

            that  the underlying  deportation  hearing violated  the  due

            process clause  and that,  therefore, a necessary  element of



                                         -3-















            the charge against him cannot be satisfied.  In United States
                                                            _____________

            v. Mendoza-Lopez, 481 U.S. 828, 839 (1987), the Supreme Court
               _____________

            established  the   right  of  a   defendant  to  collaterally

            challenge the  use of a deportation proceeding  as an element

            of  a criminal  offense  "where  the  deportation  proceeding

            effectively  eliminates  the right  of  the  alien to  obtain

            judicial review."  Id.   By entering an  unconditional guilty
                               ___

            plea, however, Perez waived the right to challenge the use of

            the deportation proceeding as an element of the   1326 charge

            to which he pleaded guilty.

                 In  United States v. Broce, 488 U.S. 563, 569-70 (1989),
                     _____________    _____

            the  Supreme Court clarified that "[a] plea of guilty and the

            ensuing conviction  comprehend all  of the factual  and legal

            elements necessary  to sustain  a binding, final  judgment of

            guilt and  a lawful sentence.  . . .  A guilty plea  'is more

            than  a confession which admits  that the accused did various

            acts.'    It is  an 'admission  that  he committed  the crime

            charged  against  him.'"  (Citations  omitted.)    Therefore,

            Perez' guilty plea to the charge of illegal reentry following

            deportation included  an admission  to the  prior deportation

            element  of  the crime.   Perez'  waiver  need not  have been

            conscious to bar his collateral challenge to the deportation.

            "Waiver  in  that  sense  is   not  required."  Id.  at  573.
                                                            ___

            Accordingly, Perez  has waived his  right to appeal  from the





                                         -4-















            district  court's  denial  of   his  motion  to  dismiss  the

            indictment. 1

                 B. Sentencing
                    __________

                 Perez attempts to challenge the district court's failure

            to  grant  him  a   downward  departure  from  the  guideline

            sentencing   range  under   the   United  States   Sentencing

            Guidelines.   As this court  has often held,  "no appeal lies

            from  a discretionary  refusal to  depart." United  States v.
                                                        ______________

            Morrison,  46  F.3d  127, 130  (1st  Cir.  1995).   There  is
            ________

            appellate jurisdiction,  however, "where the  decision not to

            depart is based  on the sentencing court's assessment  of its

            lack  of authority or power to  depart." Id.   The statements
                                                     ___

            by the  court during Perez' sentencing  clearly "reflect[] no

            misapprehension on the part  of the district court as  to its

            departure power, but simply its decision not to exercise that

            power in the present case."  Id. at 132.   Therefore, we lack
                                         __

            jurisdiction to review the departure decision.

                 Perez' conviction  and sentence are  summarily affirmed.
                                                                ________

            See Loc. R. 27.1.
            ___









                                
            ____________________

            1.  Were  we to  consider  the merits,  we  would uphold  the
            district  court's  denial of  Perez'  motion  to dismiss  the
            indictment.

                                         -5-









